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                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 BRYAN CRAIG FLANDERS,
                                                        CIVIL COMPLAINT
              Plaintiff,

 v.                                                     CASE NO. 1:18-cv-06187

 TRUEACCORD CORP. and LVNV
 FUNDING, LLC,                                          DEMAND FOR JURY TRIAL

              Defendants.


                        COMPLAINT FOR RELIEF PURSUANT TO
                      THE FAIR DEBT COLLECTION PRACTICES ACT

         NOW comes BRYAN CRAIG FLANDERS (“Plaintiff”), by and through his attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of TRUEACCORD

CORP. (“TrueAccord”) and LVNV FUNDING, LLC (“LVNV” and together with TrueAccord,

“Defendants”) as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq. for Defendants’ unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction

is conferred upon this Court by 28 U.S.C. §§1331 and 1337, as the action arises under the laws of

the United States.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Plaintiff resides in the

Northern District of Illinois, Defendants conduct business in the Northern District of Illinois, and



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a substantial portion of the events or omissions giving rise to the claims occurred within the

Northern District of Illinois.

                                               PARTIES

      4. Plaintiff is a consumer residing in Chicago, Illinois, which is located within the Northern

District of Illinois.

      5. TrueAccord is an online debt collector that utilizes “a data driven debt collection platform

powered by machine learning, digital first communications, and delivering great user

experiences.”1 TrueAccord is a corporation organized under the laws of the state of Delaware with

its principal place of business located at 303 Second Street, Suite 750 South, San Francisco,

California. TrueAccord utilizes e-mail and other electronic media to collect upon debts owed by

consumers throughout the country, including in Illinois.

      6. LVNV is a company that “purchases portfolios of . . . consumer debt owned by credit

grantors including banks and finance companies, and by other debt buyers.”2 LVNV is a limited

liability company organized under the laws of the state of Delaware with its principal place of

business located at 6801 South Cimarron Road, Suite 424-J, Las Vegas, Nevada.

      7. Defendants acted through their agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers at all

times relevant to the instant action.

                                  FACTS SUPPORTING CAUSE OF ACTION

      8. The instant action arises out of Defendants’ attempts to collect upon outstanding credit card

debt in the amount of $631.43 (“subject consumer debt”) said to be owed by Plaintiff.

      9. The subject consumer debt was incurred by Plaintiff for family and household purposes.


1
    https://www.trueaccord.com/
2
    http://www.lvnvfunding.com/

                                                   2
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   10. The subject consumer debt was originally owed to Credit One Bank, N.A. (“Credit One”)

by Plaintiff before economic hardship caused him to default on payments to Credit One.

   11. Credit One charged-off the subject consumer debt and sold it to LVNV after Plaintiff’s

default.

   12. LVNV engaged the services of TrueAccord to act on its behalf in seeking payment on the

subject consumer debt.

   13. On or about September 3, 2018 Plaintiff received an e-mail from TrueAccord attempting

to collect payment for the subject debt. TrueAccord sent this email at the direction and benefit of

LVNV.

   14. Defendants’ e-mail contained a portion stating:

               The remaining balance owed to LVNV Funding LLC is $631.43.
               The balance breakdown is as follows: $631.43 in principal (which
               may include interest and fees accrued prior to purchase), $0.00 in
               fees since purchase, $0.00 in interest since purchase, and $0.00 in
               administrative costs since purchase.
               TrueAccord does not charge fees or interest to the consumer related
               to our collection efforts.
               LVNV Funding, LLC account number ending in: 1908.

   15. Plaintiff has received numerous emails from Defendants, each containing the above quoted

language regarding fees, interest, and costs.

   16. Confused and misled by the nature of the Defendants’ emails, Plaintiff spoke with

Sulaiman regarding his rights, resulting in expenses.

   17. Plaintiff has expended assets dealing with Defendants’ conduct.

               COUNT I – VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                (PLAINTIFF AGAINST DEFENDANTS)

   18. Plaintiff repeats and realleges paragraphs 1 through 17 as though fully set forth herein.

   19. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.



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      20. TrueAccord is a debt collector, as defined by 15 U.S.C. § 1692a(6), as it is engaged in the

business of collecting or attempting to collect, directly or indirectly, defaulted debts owed or due

or asserted to be owed or due to others. TrueAccord identifies itself as a debt collector3 and has

been a member of the Association of Credit and Collection Professionals (“ACA”) since 2014.4

      21. LVNV is a debt collector, as defined by 15 U.S.C. § 1692a(6), because it uses any

instrumentality of interstate commerce or the mails in a business the principal purpose of which is

the collection of debts, and because it regularly uses the mails and/or telephones to collect, or

attempt to collect, directly or indirectly consumer delinquent debts owed or due or asserted to be

owed or due another.

      22. The subject consumer debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of

a transaction due or asserted to be owed or due to another for personal, family, or household

purposes.

             a.      Violations of FDCPA § 1692e

      23. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

    false, deceptive, or misleading representation or means in connection with the collection of any

    debt.”

      24. In addition, this section enumerates specific violations, such as:

                  “The false representation of – the character, amount, or legal status of any
                  debt . . . .” 15 U.S.C. § 1692e(2).

                  “The use of any false representation or deceptive means to collect or
                  attempt to collect any debt or to obtain information concerning a
                  consumer.” 15 U.S.C. §1692e(10)




3
    https://www.trueaccord.com/
4
    http://www.acainternational.org/search#memberdirectory

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   25. Defendants violated 15 U.S.C. §§ 1692e, e(2), and e(10) through the inclusion of the

portion of its e-mails which provided that the interests, fees, and other costs associated with the

subject debt totaled $0.00, coupled with the language “TrueAccord does not charge fees or interest

to the consumer related to our collection efforts.” Defendants’ representation that is “does not”

charge fees or interests to the consumer falsely represents its ability to do so in the first place.

Since the subject consumer debt was charged off, Defendants were precluded from adding these

additional fees. By using the phrase “does not” rather than “cannot”, Defendants sought to

represent to Plaintiff that they had the lawful ability to add these charges, but that it was making

some sort of magnanimous decision not to. In reality, these charges could not legally be added.

Defendants engage in this misleading conduct in an attempt to garner favor with Plaintiff and to

further suggest that, in the event resolution with Defendants was not possible, Plaintiff may be

subjected to these additional fees, costs, and interest. Defendants’ conduct was designed to create

an artificial sense of urgency in Plaintiff’s mind so she would be compelled to make prompt

payment.

               b. Violations of 15 U.S.C. §1692f

   26. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

   27. Defendants violated 15 U.S.C. §1692f through the emails because they unfairly implied

that LVNV had the ability to add interest, fees, and other costs. In reality, LVNV did not have the

lawful ability to do so as Plaintiff’s account was charged off by Credit One. By proactively

invoking the references to late fees, interest, and administrative charges, Defendants unfairly

represented to Plaintiff that these additional amounts could be added. However, given the status of

the subject consumer debt it is unlawful for Defendants to ever assess these additional amounts.



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    28. The carefully crafted language is the sort of misleading tactic the FDCPA prohibits. The

only reason to use such carefully ambiguous language is the expectation that at least some

unsophisticated debtors will misunderstand and will choose to pay because they fear the

consequences of not doing so.

    29. As pled herein, Plaintiff has been harmed and suffered damages as a result of Defendants’

illegal actions.

    WHEREFORE, Plaintiff BRYAN CRAIG FLANDERS, respectfully requests that this

Honorable Court enter judgment in his favor as follows:

    a. Declaring that the practices complained of herein are unlawful and violate the
       aforementioned bodies of law;

    b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
       §1692k(a)(2)(A);

    c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
       under 15 U.S.C. §1692k(a)(1);

    d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
       §1692k(a)(3); and

    e. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: September 10, 2018                            Respectfully submitted,

s/ Nathan C. Volheim                                 s/Taxiarchis Hatzidimitriadis
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